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17                               UNITED STATES DISTRICT COURT
18                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
19                                       OAKLAND DIVISION
20    WHATSAPP LLC, and                 )
      META PLATFORMS INC.,              )          Case No. 4:19-cv-07123-PJH
21                                      )
                                        )
22                    Plaintiffs,       )          ADMINISTRATIVE MOTION TO
                                        )          CONSIDER WHETHER ANOTHER
23           v.                         )          PARTY’S MATERIAL SHOULD BE
                                        )          FILED UNDER SEAL
24    NSO GROUP TECHNOLOGIES LIMITED )
25    and Q CYBER TECHNOLOGIES LIMITED, )          Ctrm: 3
                                        )          Judge: Hon. Phyllis J. Hamilton
                                        )
26                    Defendants.       )
                                        )
27                                      )          Action Filed: October 29, 2019

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 1          TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

 2          PLEASE TAKE NOTICE that, pursuant to Northern District of California Local Rules 7-11

 3   and 79-5(f), Plaintiffs WhatsApp LLC and Meta Platforms, Inc. move the Court to consider whether

 4   certain portions of Plaintiffs’ Opposition to Defendants’ Motion to Strike the Supplemental Expert

 5   Report of Dana Trexler (“Opposition”) and certain exhibits to the Declaration of Micah G. Block in

 6   Support of the Opposition (collectively, the “Confidential Materials”) should be sealed.

 7          Defendants designated certain exhibits as “Highly Confidential—Attorneys’ Eyes Only” pur-

 8   suant to the Stipulated Protective Order (Dkt. No. 132) in the above-captioned action. Plaintiffs,

 9   therefore, must, under the terms of the Stipulated Protective Order, file the exhibits under seal and

10   redact the portions of the Opposition Motion that quote or reference the exhibits.

11          Accordingly, Plaintiffs now move the Court to consider whether the Confidential Materials

12   should be sealed. See N.D. Cal. Civil L.R. 79-5(f). Plaintiffs reserve the right to challenge any

13   confidentiality designations as well as the sealability of the materials at issue.

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     ADMINISTRATIVE MOTION TO CONSIDER WHETHER ANOTHER PARTY’S MATERIAL SHOULD BE FILED UNDER SEAL
     CASE NO. 4:19-CV-07123-PJH
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 1    Dated: January 13, 2025                    Respectfully Submitted,

 2
                                                 DAVIS POLK & WARDWELL LLP
 3

 4                                               By: /s/ Micah G. Block
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     CASE NO. 4:19-CV-07123-PJH
